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           14                                  UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
           15

           16      LYDIA OLSON, MIGUEL PEREZ,                 CASE NO. 2:19-cv-10956-DMG-RAO
                   POSTMATES INC., and UBER
           17      TECHNOLOGIES, INC.
                                                              MEMORANDUM IN SUPPORT OF
           18                           Plaintiffs,           PLAINTIFFS’ MOTION FOR
                                                              PRELIMINARY INJUNCTION
           19             v.
                                                              Judge:        Hon. Dolly M. Gee
           20      STATE OF CALIFORNIA; XAVIER                Hearing Date: February 7, 2020
                   BECERRA, in his capacity as Attorney       Time:         2:00 P.M.
           21      General of the State of California; and
                   “JOHN DOE,” in his official capacity,
           22

           23
                                        Defendants.

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                   Memorandum in Support of                                       Case No. 2:19-cv-10956
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                   Preliminary Injunction
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               1                    MEMORANDUM OF POINTS AND AUTHORITIES
               2          The legislators who sponsored AB 5 irrationally, and unconstitutionally,
               3   targeted independent service providers and app-based network companies in the on-
               4   demand economy.            And if AB 5 were enforced as its sponsors intend and have
               5   threatened, Plaintiffs Lydia Olson and Miguel Perez (together, “Individual Plaintiffs”),
               6   would suffer severely in their ability to earn an income in the manner of their choosing.
               7   Plaintiffs Postmates and Uber (together, “Company Plaintiffs”) would also be harmed
               8   irreparably, as would consumers and the public in general, which have come to rely on
               9   the on-demand economy and the attendant benefits to independent service providers,
           10      merchants, consumers, and many others.
           11             The “on-demand economy” has brought a technological revolution to California’s
           12      (and the world’s) economy, through which a variety of apps developed by technology
           13      companies connect independent service providers to consumers looking for their
           14      services.    For the independent service providers, this innovation provides income
           15      without requiring them to conform their lives to the dictates of a traditional work
           16      schedule or to pledge their loyalty to a single employer.
           17             Ms. Olson, for example, can run her own independent consulting business while
           18      caring for her husband who has multiple sclerosis, all while supplementing her primary
           19      income by performing on-demand work when the timing suits her. Mr. Perez earns
           20      nearly twice as much money as an app-based independent service provider than he did
           21      working full-time as a trucker—so much more that his wife has been able to quit her job
           22      to care for their young daughter, and the family has climbed out of debt to start saving
           23      for a home. As his own boss in the on-demand economy, he never has to miss his son’s
           24      little league baseball games because a supervisor has called him into work, and he is
           25      never required to work the graveyard shifts he dislikes.
           26             Legions of individuals have similar stories. A single parent, for example, whose
           27      family obligations preclude full-time work, can earn money using the Uber Driver App
           28      to connect with consumers seeking a ride. An individual who works full-time and

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               1   supplements W-2 income with earnings from delivery leads received through the
               2   Postmates App can invest earnings in a tuition fund for her child. A student can make
               3   occasional deliveries, but spend the end of the semester studying for finals and, during
               4   that time, never open the app. These independent service providers—and hundreds of
               5   thousands like them—have benefitted immeasurably from the flexibility and control that
               6   on-demand work offers. See Compl. ¶¶ 5–6, 92 & n.3; McCrary Decl. ¶¶ 24–26.
               7          The sponsors of AB 5 explicitly, and unapologetically, sought to take away this
               8   flexibility and independence.      They targeted network companies, and irrationally
               9   exempted dozens of other professions, in violation of the Equal Protection and Due
           10      Process Clauses. And if enforced the way its sponsors intend—to wipe out contracts
           11      between independent service providers and network companies in California—AB 5
           12      would dramatically reshape the industry, invalidating hundreds of thousands of contracts
           13      that have been in place for years, and forcing parties to enter into new contracts against
           14      their will, in violation of the Contracts Clause.
           15             The harm from enforcement of the statute in this way would be immeasurable and
           16      irreparable, and would reach not only the Individual and Company Plaintiffs, but the
           17      entire economy. It would turn the technological clock backwards by a decade and
           18      abandon the immense benefits the on-demand economy has made possible.                   The
           19      momentous disruption to Plaintiffs—and the daily lives of millions of Californians—
           20      threatened by AB 5 raises significant constitutional questions that should be examined
           21      by this Court before it is enforced.
           22                                             BACKGROUND
           23             Network companies have been an engine of economic growth and job creation in
           24      California, across the country, and around the world. See Compl. ¶ 4. Postmates Inc.,
           25      for example, operates an app-based platform that connects customers wishing to
           26      purchase goods (such as food) with local merchants and, when applicable, with couriers
           27      willing to deliver the purchased good. Uber Technologies, Inc. operates an app-based
           28      platform that matches customers looking for a ride with drivers willing to provide that

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               1   ride, among other apps. Other network companies operate platforms that match persons
               2   willing to pay someone to provide any number of other services. The on-demand
               3   economy has dramatically reduced drunk driving deaths, increased convenience, and
               4   expanded opportunities for local businesses and their patrons. See id. ¶ 8.
               5          Hundreds of thousands of Californians have chosen to work as independent
               6   service providers in the on-demand economy, integrate on-demand work into their
               7   existing lifestyles, and maintain a ready source of income.
               8          Plaintiff Lydia Olson chose on-demand work because, as the owner of a small
               9   consulting business, she needed a steady, reliable income stream. The flexibility on-
           10      demand work provides has also allowed her to care for her husband who suffers from
           11      multiple sclerosis and often needs her assistance with little to no notice, making
           12      traditional employment challenging. Olson Decl. ¶ 3. She intentionally chooses to work
           13      as an independent contractor because of the flexibility and autonomy such work
           14      provides, and does not want—nor has ever wanted—to work as an employee. Id. ¶ 7.
           15             Plaintiff Miguel Perez chose on-demand work to avoid the risks associated with
           16      driving a truck during the graveyard shift; to allow his wife to be closer to their daughter
           17      who suffers from separation anxiety; to permit him to regularly attend his son’s baseball
           18      practices and games; and to simultaneously increase his own income, climb out of debt,
           19      and start saving for a home. Perez Decl. ¶¶ 8, 18.
           20             Independent service providers work as much or as little as they want, whenever
           21      they want, and wherever they want. A father might choose on-demand work for the
           22      flexibility to work around his children’s soccer games and ballet performances. A retiree
           23      might choose on-demand work to supplement fixed income and to meet new people. A
           24      military spouse might choose on-demand work to help ease the burdens of frequent
           25      relocation.     Still others might choose on-demand work as a way to supplement
           26      “traditional” full-time work or to bridge the gap between salaried positions. The
           27      flexibility and autonomy offered by the on-demand economy to workers on a mass scale
           28      is unprecedented. See Compl. ¶¶ 5–6, 8, 92 & n.3; McCrary Decl. ¶¶ 24–26.

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               1          As set forth at length in the Complaint (¶¶ 63–68), the sponsors of AB 5 openly
               2   stated their intent to target the on-demand economy:
               3        Assemblywoman Lorena Gonzalez, the sponsor and lead drafter of the bill,
               4          repeatedly explained that AB 5 was designed to stop network companies from
               5          working with independent contractors and instead force them to hire employees.
               6          Id. ¶¶ 15–18, 63–68. On September 11, 2019, she criticized network companies
               7          for “rely[ing] on a contract workforce” and pronounced that AB 5 will stop such
               8          companies from relying on independent contractors. Id. ¶ 64b.
               9        Assembly Speaker Anthony Rendon, the principal coauthor of the bill, stated
           10             similarly that with AB 5, “we’re in a position” to force network companies to
           11             reclassify independent service providers as employees. Id. ¶ 65a. He stated that
           12             the on-demand economy “crushes the dreams and lives of workers.” “When you
           13             hear about folks talking about the new economy, the gig economy, the innovation
           14             economy,” according to Rendon, “it’s f—g feudalism all over again.”1
           15           Advocating for AB 5, Assemblywoman Buffy Wicks similarly stated her desire
           16             to target network companies through passage of AB 5. Compl. ¶ 65b.
           17           State Senator (and Co-Author of the Bill) Maria Durazo said that “the so-called
           18             gig companies present themselves as the innovative future of tomorrow, a future
           19             where companies don’t pay Social Security or Medicare.”2
           20             These and many other public comments make clear what countless commentators
           21      have recognized: AB 5 “is clearly aimed at modern companies like Uber and Lyft—and
           22

           23
                   1
                           @Rendon63rd,        Twitter     (July      10,     2019,      4:40    PM),
           24      https://twitter.com/Rendon63rd/status/1149101100928159744; see also Miriam Pawel,
           25
                   You Call It the Gig Economy. California Calls It “Feudalism,” N.Y. Times (Sept. 12,
                   2019),       https://www.nytimes.com/2019/09/12/opinion/california-gig-economy-bill-
           26      ab5.html (internal quotation marks omitted) (quoting Speaker Rendon).
                   2
                     Kate Conger & Noam Scheiber, California Bill Makes App-Based Companies Treat
           27      Workers         as     Employees,     N.Y.      Times      (Sept.     11,    2019),
                   https://www.nytimes.com/2019/09/11/technology/california-gig-economy-bill.html.
           28

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               1   increasingly more business in the sharing economy space.”3
               2          Assemblywoman Gonzalez has called on executive officials to immediately bring
               3   enforcement actions against network companies, specifically naming one Company
               4   Plaintiff as her chief target. Compl. ¶ 64f; see also id. ¶ 18. California executive
               5   officials have left no doubt as to how they interpret AB 5 and have expressed their desire
               6   “to do the job” that Assemblywoman Gonzalez has directed them to do. Id. ¶ 18.
               7          Legislators claimed the statute merely codified the California Supreme Court’s
               8   holding in Dynamex Operations W. Inc. v. Superior Court, 4 Cal. 5th 903, 913 (2018),
               9   but that is false. For decades, California worker classification has been governed by a
           10      multifactor balancing test examining the degree of control exerted by a company over a
           11      worker (S.G. Borello & Sons, Inc. v. Dep’t of Industrial Relations, 48 Cal. 3d 341
           12      (1989)); Dynamex changed that standard, but only in the “one specific context ... of
           13      California wage orders” (4 Cal. 5th at 913 (emphasis omitted)). AB 5, however, codifies
           14      the ABC test not only for wages orders but also for the entire California Labor Code and
           15      Unemployment Insurance Code, subjecting entities who fail to comply with this more
           16      stringent test to numerous civil and criminal penalties. See Compl. ¶¶ 69–72.
           17             The supporters of AB 5 did their best to limit the scope of the law only to the
           18      network companies. They responded to lobbyists from all corners, and littered the bill
           19      with exemptions from the statute’s requirements. At Gonzalez’s urging, the California
           20      Labor Federation went so far as to circulate an “AB 5 Exemption Request Form” for its
           21      members to complete and then submit to the legislature. See id. ¶ 62. One State Senator
           22      described the result of this blizzard of political dealing as “one of the most haphazard
           23
                   3
           24         David Brunori, Contractors, Employees And The Sharing Economy: SALT In Review,
                   Law360            (Sept.         20,        2019),       https://www.law360.com/tax-
           25      authority/articles/1201352/contractors-employees-and-the-sharing-economy-salt-in-
           26      review; see also, e.g., Rachel Uranga, Port Truckers Brake for AB 5, L.A. Bus. J. (Oct.
                   4,     2019),       https://labusinessjournal.com/news/2019/oct/04/port-truckers-brake-
           27      ab5logistics-companies-drivers/ (“AB5 takes direct aim at ride-share services Uber
                   Technologies Inc. and Lyft Inc.”).
           28

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               1   pieces of legislation that I’ve ever seen.” “If you had the financial wherewithal as an
               2   industry to hire fancy lobbyists,” he explained, “you got a carve out.”4
               3          These well-funded lobbying efforts created an irrational Frankenstein-like statute:
               4   The vast majority of the statute’s text is spent exempting dozens of occupations from its
               5   reach. But Gonzalez vowed from the beginning that network companies would not make
               6   the list, pledging: “It’s not going to happen.” Compl. ¶ 67. After AB 5 passed, she
               7   tweeted that she had “fought so hard for #AB5 with no gig carve-outs.” Id. And she
               8   has since made clear that although she is open to considering further exemptions, the
               9   network companies she targeted will never be exempted by any such “fix.” Id. ¶ 64i.
           10                                        LEGAL STANDARD
           11             “A plaintiff seeking a preliminary injunction must establish that he is likely to
           12      succeed on the merits, that he is likely to suffer irreparable harm in the absence of
           13      preliminary relief, that the balance of equities tips in his favor, and that an injunction is
           14      in the public interest.” Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).
           15      The Ninth Circuit uses a “sliding scale” approach to preliminary injunctions. Alliance
           16      for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131–35 (9th Cir. 2011). Under this
           17      approach, “the elements of the preliminary injunction test are balanced, so that a stronger
           18      showing of one element may offset a weaker showing of another.” Id. at 1131. Where,
           19      as here, “the balance of equities tips sharply in [P]laintiff[s’] favor,” the Court may issue
           20      a preliminary injunction where “there are serious questions going to the merits—a lesser
           21      showing than likelihood of success on the merits.” Shell Offshore, Inc. v. Greenpeace,
           22      Inc., 709 F.3d 1281, 1291 (9th Cir. 2013) (emphasis and internal quotation marks
           23      omitted); see also Leiva-Perez v. Holder, 640 F.3d 962, 968 (9th Cir. 2011). “Serious
           24      questions need not promise a certainty of success, nor even present a probability of
           25      success, but must involve a fair chance of success on the merits.” Republic of the
           26
                   4
           27         CBS 47 KSEE24, CA Senator Andreas Borgeas Calls AB5 Most ‘Half-hazard’ Piece
                   of      Legislation   He’s     Seen,    YouTube       (Sept.    19,      2009),
           28      https://www.youtube.com/watch?v=mwtSZRR-f0U.

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               1   Philippines v. Marcos, 862 F.2d 1355, 1362 (9th Cir. 1988) (internal quotation marks
               2   omitted) (emphasis added); see also OTR Wheel Eng’g, Inc. v. West Worldwide Servs.,
               3   Inc., 602 Fed. App’x 669, 771 (9th Cir. 2015).
               4                                          ARGUMENT
               5          If interpreted and enforced as AB 5’s sponsors intend and as state and city
               6   executive officials have threatened—to force reclassification of independent service
               7   providers who use network platforms to connect with consumers—AB 5 is
               8   unconstitutional. Such reclassification would irreparably harm Lydia Olson, Miguel
               9   Perez, Company Plaintiffs, and the entire economy. The balance of harms and the public
           10      interest overwhelmingly favor an injunction to preserve the status quo until the court can
           11      decide whether AB 5 is constitutional.5
           12      I.     Plaintiffs Are Likely To Succeed On The Merits
           13             Plaintiffs are likely to prevail, and have at the very least raised “serious questions”
           14      over the constitutionality of AB 5 under the Equal Protection, Due Process, and
           15      Contracts Clauses of the United States and California Constitutions.
           16             A.      AB 5’s Sponsors Irrationally Targeted Network Companies And On-
                                  Demand Workers In Violation Of Equal Protection.
           17             The United States and California Constitutions each require California to provide
           18      the “equal protection of the laws” to persons within its jurisdiction. U.S. Const. amend.
           19      XIV, § 1; Cal. Const. art I, § 7(a). This guarantee is “essentially a direction that all
           20      persons similarly situated should be treated alike” (City of Cleburne v. Cleburne Living
           21      Center, 473 U.S. 432, 439 (1985)) and “secure[s] every person within the State’s
           22      jurisdiction against intentional and arbitrary discrimination, whether occasioned by
           23      express terms of a statute or by its improper execution through duly constituted agents”
           24      (Vill. of Willowbrook v. Olech, 528 U.S. 562, 564 (2000)).
           25
                   5
           26
                     Company Plaintiffs maintain that they are not hiring entities under AB 5 and can
                   establish that app-based independent service providers are not employees under the ABC
           27      test. See Compl. ¶ 19 & n.10. Nevertheless, a preliminary injunction is necessary to
                   prevent Defendants’ threatened enforcement according to their erroneous and
           28      unconstitutional interpretation of AB 5.

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               1          No law may draw classifications that do not “rationally further a legitimate state
               2   interest.” Nordlinger v. Hahn, 505 U.S. 1, 10 (1992). “A regulatory statute which
               3   singles out a particular class, or makes distinctions in the treatment of business entities
               4   engaged in the same business activity, must bear a reasonable relationship to the
               5   underlying purpose of the statute, and that purpose must be legitimate.” Santos v. City
               6   of Houston, Tex., 852 F. Supp. 601, 608 (S.D. Tex. 1994).                By requiring that
               7   classifications “bear a rational relationship to an independent and legitimate legislative
               8   end, [courts] ensure that classifications are not drawn for the purpose of disadvantaging
               9   the group burdened by the law.” Romer v. Evans, 517 U.S. 620, 633 (1996); see also
           10      Hays v. Wood, 25 Cal. 3d 772, 786–87 (1979) (under rational basis review, a court must
           11      “conduct a serious and genuine judicial inquiry into the correspondence between the
           12      classification and the legislative goals” (internal quotation marks omitted)).
           13             AB 5 is unconstitutional because its classifications (1) target network companies
           14      and are motivated by animus, (2) are clearly designed to benefit favored constituents,
           15      and (3) lack the necessary “fit” between the legislative goals and the classifications used.
           16               1. AB 5 Is Motivated By Animus.
           17             The principal sponsors of AB 5 made clear their intent to single out network
           18      companies.        The day AB 5 passed, the statute’s sponsor and lead drafter,
           19      Assemblywoman Lorena Gonzalez, published an editorial deriding these companies:
           20      “The Gig Economy Has Costs. We Can No Longer Ignore Them.” Compl. ¶ 15, n.6.
           21      The day the bill was signed, she tweeted that she had “fought so hard for #AB5 with no
           22      gig carve-outs.” Id. ¶ 67. Since AB 5’s passage, she has expressed her willingness to
           23      consider additional exemptions, but expressly stated she would not consider an
           24      exemption for network companies. Id. ¶¶ 62, 67 & n.26. Countless commentators have
           25      recognized that “[w]hile [AB 5] does not actually say it, it is clearly aimed at modern
           26      companies like Uber and Lyft—and increasingly more business in the sharing economy
           27      space.” Id. ¶ 68 & n.44. In light of this explicit targeting, it matters not that the statute
           28      does not specifically single out the network companies. See Pro-Eco, Inc. v. Bd. of

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               1   Comm’rs of Jay Cty., Ind., 57 F.3d 505, 515 n.11 (7th Cir. 1995) (a law “may contain
               2   language of general applicability and still violate the Equal Protection Clause without a
               3   showing of unfair enforcement”).
               4          This animus alone is enough to enjoin AB 5’s enforcement, because “if the
               5   constitutional conception of ‘equal protection of the laws’ means anything, it must at the
               6   very least mean that a bare ... desire to harm a politically unpopular group cannot
               7   constitute a legitimate governmental interest.” U.S. Dep’t of Agric. v. Moreno, 413 U.S.
               8   528, 534 (1973) (invalidating law poorly aimed at targeting disfavored group); Squaw
               9   Valley Dev. Co. v. Goldberg, 375 F.3d 936, 945–46 (9th Cir. 2004), overruled on other
           10      grounds by Lingle v. Chevron USA, Inc., 544 U.S. 528 (2005) (“[A] plaintiff may pursue
           11      an equal protection claim by raising a triable issue of fact as to whether the defendants’
           12      asserted rational basis was merely a pretext for differential treatment.” (punctuation
           13      omitted)). Equal protection is “designed to prevent any person or class of persons from
           14      being singled out as a special subject for discriminating and hostile legislation.”
           15      McPherson v. Blacker, 146 U.S. 1, 39 (1892). And the evidence of animus is stronger
           16      here—where legislators aired their animus publicly—than in other cases, where animus
           17      was inferred. Compare Romer, 517 U.S. at 632–35.
           18               2. The Exemptions Do Nothing But Protect Politically Favored Groups.
           19             “Courts have repeatedly recognized that protecting a discrete interest group from
           20      economic competition is not a legitimate governmental purpose.” Craigmiles v. Giles,
           21      312 F.3d 220, 224 (6th Cir. 2002). The Ninth Circuit recently reversed a decision
           22      granting a motion to dismiss in an equal protection challenge to a California minimum
           23      wage statute that was ostensibly designed to codify judicial decisions, but added carve-
           24      outs to “procure [a labor union’s] support in passing [the] legislation.” Fowler Packing
           25      Co., Inc. v. Lanier, 844 F.3d 809, 812–13, 816 (9th Cir. 2016). This was impermissible:
           26      “[L]egislatures may not draw lines for the purpose of arbitrarily excluding individuals,”
           27      even to “protect” those favored groups’ “expectations.” Id. at 815.
           28             Like the measure in Fowler, AB 5’s arbitrary exemptions were crucial to

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               1   procuring the interest group support necessary to ensure its passage.6 The statute
               2   provides no explanation for its hundreds of lines of exemptions. See Hartford Steam
               3   Boiler Inspection & Ins. Co. v. Harrison, 301 U.S. 459, 463 (1937). And there is, in
               4   fact, “no other reason why the California legislature would choose to carve out these
               5   [occupations] other than to respond to the demands of [certain] political constituent[s].”
               6   Fowler, 844 F.3d at 815.       As one legislator reported, “if you had the financial
               7   wherewithal as an industry to hire fancy lobbyists, you got a carve out.” See supra note
               8   4 and accompanying text. The grants of exemptions to occupations outside the network
               9   economy became so transactional that the California Labor Federation circulated an “AB
           10      5 Exemption Request Form” to be submitted to the legislature with instructions for
           11      where to insert the exemption into the statutory text.
           12             “[T]here is no more effective practical [guarantee] against arbitrary and
           13      unreasonable government than to require that the principles of law which officials would
           14      impose upon a minority must be imposed generally,” because “nothing opens the door
           15      to arbitrary action so effectively as to allow [state] officials to pick and choose only a
           16      few to whom they will apply legislation and thus to escape the political retribution that
           17      might be visited upon them if larger numbers were affected.” Hays, 25 Cal. 3d at 777;
           18      Eisenstadt v. Baird, 405 U.S. 438, 454 (1972) (same). AB’s sponsors sought to “pick
           19      and choose” the “few” against whom the legislation would apply in order to “escape the
           20      political retribution” that would have ensued “if larger numbers were affected.” Hays,
           21      25 Cal. 3d at 777. They flouted the “require[ment]” that laws “impose[d] upon a
           22      minority” must be “imposed generally.” Id.; see also Ex parte Scaranino, 7 Cal. 2d 309,
           23      312 (1936) (“A general law must include within its sanction all who come within its
           24

           25      6
                     Indeed, Assemblywoman Gonzalez admitted that she “had no other choice” to add
           26
                   one particular exemption “as a condition of AB 5’s passage.” Katy Grimes, How
                   Assemblywoman Lorena Gonzalez was Forced to Author AB 170 and Voted NO on Her
           27      Own Bill, Cal. Globe (Sept. 16, 2019), https://californiaglobe.com/section-2/how-
                   assemblywoman-lorena-gonzalez-was-forced-to-author-ab-170-and-voted-no-on-her-
           28      own-bill/. This was just one of AB 5-s dozens of exemptions.

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               1   purpose and scope.”). They did so to protect the old economy from the new. But
               2   “economic protection of a particular industry” is not “a legitimate governmental
               3   purpose.” St. Joseph Abbey v. Castille, 712 F.3d 215, 222–23 (5th Cir. 2013); see Metro.
               4   Life Ins. Co. v. Ward, 470 U.S. 869, 878 (1985) (law unconstitutional where its “aim
               5   [was] designed only to favor domestic industry within the State”).
               6            3. AB 5 Does Not Advance Its Purported Purpose.
               7          AB 5 purports to codify Dynamex, but Dynamex did not apply the ABC test only
               8   to a certain disfavored group. In fact, the litany of AB 5 exemptions actually remove
               9   the exempted entities from the ABC test Dynamex otherwise mandated, which
           10      accomplishes the opposite of the statute’s supposed purposes for the exempted entities,
           11      and leaves only singled-out entities to bear the weight of the law. AB 5 does not advance
           12      “a legitimate government interest.” Fowler, 844 F.3d at 818.
           13             For example, in Merrifield v. Lockyer, a California pest-controller licensing
           14      scheme purported to protect pest controllers and the public from harms associated with
           15      mishandling toxic pesticides, but exempted from the licensing requirement a group of
           16      controllers more likely to recommend and handle such pesticides than a similarly
           17      situated economic group singled out by the law. 547 F.3d 978, 990–91 (9th Cir. 2008).
           18      The Ninth Circuit concluded that the government “undercut its own rational basis for
           19      the licensing scheme” by including the targeted group but excluding the other. Id. at
           20      992. The court observed that the legislature’s “singling out of a particular economic
           21      group, with no rational or logical reason for doing so, [i]s strong evidence of an
           22      economic animus with no relation to public health, morals or safety.” Id. at 989.
           23             Like the regulation in Merrifield, AB 5’s exemptions undermine its stated purpose
           24      and demonstrate its drafters’ animus toward network companies. If the ABC test really
           25      were necessary to protect workers, it would be irrational to leave nearly all non-app-
           26      based independent workers out in the cold. Put simply, “there is a disconnect between”
           27      the law’s reach and its stated purpose. St. Joseph Abbey, 712 F.3d at 225; see Allegheny
           28      Pittsburgh Coal Co. v. Cty. Comm’n of Webster Cty., W. Va., 488 U.S. 336, 346 (1989)

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               1   (assessment system resulting in “relative undervaluation of comparable property ...
               2   denies petitioners the equal protection of the law”); Santos, 852 F. Supp. at 608
               3   (invalidating ordinance under which “jitneys have been excluded from operating on city
               4   streets, while numerous other forms of similarly situated business entities providing
               5   ground transportation have been operating without restriction”).           AB 5 is “so
               6   discontinuous with the reasons offered for it” that it is “inexplicable by anything but
               7   animus toward the class it affects.” Romer, 517 U.S. at 632.
               8          B.      Denying On-Demand Workers Their Right To Pursue Their Chosen
                                  Occupation Would Deprive Them Of Liberty Without Due Process.
               9
                          The California Constitution declares “All people are by nature free and
           10
                   independent and have inalienable rights. Among these are enjoying and defending life
           11
                   and liberty, acquiring, possessing, and protecting property, and pursuing and obtaining
           12
                   safety, happiness, and privacy.” Cal. Const. art I, § 1. The California and United States
           13
                   Constitutions also prohibit California from depriving any person of “life, liberty, or
           14
                   property without due process of law.” U.S. Const. amend. XIV, § 1; Cal. Const. art I,
           15
                   § 7(a). And their enumerations of rights “may not be construed to impair or deny others
           16
                   retained by the people.” Cal. Const. art I, § 24; U.S. Const. amend. IX.
           17
                          The “right to ‘follow a chosen profession free from unreasonable governmental
           18
                   interference comes within the “liberty” and “property” concepts of’ substantive due
           19
                   process.” Hardesty v. Sacramento Metro. Air Quality Mgmt. Dist., 307 F. Supp. 3d
           20
                   1010, 1024 (E.D. Cal. 2018) (quoting Greene v. McElroy, 360 U.S. 474, 492 (1959)).
           21
                   “It requires no argument to show that the right to work for a living in the common
           22
                   occupations of the community is of the very essence of the personal freedom and
           23
                   opportunity that it was the purpose of the [Fourteenth] Amendment to secure.” Truax v.
           24
                   Raich, 239 U.S. 33, 41 (1915). “Any limitation on the opportunity” to earn a living
           25
                   “impedes the achievement of economic security, which is essential for the pursuit of life,
           26
                   liberty and happiness; courts sustain such limitations only after careful scrutiny.” Purdy
           27
                   & Fitzpatrick v. State, 71 Cal. 2d 566, 579 (1969) (emphasis added).              And the
           28

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               1   “[L]egislature may not, under the guise of protecting the public interests, arbitrarily
               2   interfere with private business, or impose unusual and unnecessary restrictions upon
               3   lawful occupations.” Ganley v. Claeys, 2 Cal. 2d 266, 268 (1935).
               4          Individual Plaintiffs (and many like them¸ see Compl. ¶ 5) do not want to be
               5   employees; they want the freedom and independence of being independent contractors.
               6   Ms. Olson explained: “I could not work for Uber or Lyft if they required me to be an
               7   employee. Given my husband’s illness and the fact that I have little or no notice of when
               8   I will have to take time off to care for him, I could not give up the flexibility that I have
               9   as an independent contractor.” Olson Decl. ¶¶ 10. And Mr. Perez stated: “I know what
           10      it is like to be an employee, and I do not want to be one. I want to be in control of when
           11      I work, how much I work, and how much I earn, and want to be my own boss. I believe
           12      that the new law in California called AB 5 is threatening the freedom and flexibility that
           13      I have relied on for years to support my family.” Perez Decl. ¶¶ 19.
           14             If AB 5 were enforced against Plaintiffs in a manner consistent with the sponsors’
           15      stated intent to require reclassification of workers in the on-demand economy, it would
           16      impose a severe, and unconstitutional, restriction on Plaintiffs’ right to pursue their
           17      vocations on mutually agreed terms. See Cornwell v. Hamilton, 80 F. Supp. 2d 1101,
           18      1114 (S.D. Cal. 1999) (invalidating California’s regulations that practitioners of African
           19      hair braiding obtain cosmetology license when mandated curriculum had little overlap
           20      with practice of hair braiding, thus demonstrating that required curriculum was “not a
           21      rational exercise of licensure to the practice of Plaintiffs’ desired profession”).
           22             C.      Enforcement Of AB 5 Would Unconstitutionally Impair Plaintiffs’
                                  Contracts.
           23
                          If enforced against Plaintiffs in a manner consistent with the sponsors’ stated
           24
                   intent to require reclassification of workers in the on-demand economy, AB 5 also
           25
                   violates the Contracts Clauses of the United States and California constitutions, each of
           26
                   which prohibit the legislature from enacting a “law impairing the obligation of
           27
                   contracts.” Cal. Const. art I, § 9; U.S. Const. art I., § 10. The Contracts Clauses thus
           28

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               1   “restrict[] the power of States to disrupt contractual arrangements” (Cal Fire Local 2881
               2   v. California Pub. Employees’ Ret. Sys., 6 Cal. 5th 965, 977 (2019) (quoting Sveen v.
               3   Melin, 138 S. Ct. 1815, 1821 (2018))); indeed, the federal Contracts Clause “was perhaps
               4   the strongest single constitutional check on state legislation during our early years as a
               5   Nation” (Allied Structural Steel Co. v. Spannaus, 438 U.S. 234, 241 (1978)).
               6            1. Substantial Impairment.
               7          Forced reclassification would invalidate thousands of on-demand economy
               8   contracts, which specify work as independent contractors, and replace them with an
               9   arrangement to which the parties never agreed—that of employer and employee. This
           10      would substantially “undermine” the contractual bargain between Company Plaintiffs
           11      and affected independent service providers by “severely modif[ying a] contractual right”
           12      that is a “critical feature of [the company’s] total contractual relationship with its
           13      agents.” Garris v. Hanover Ins. Co., 630 F.2d 1001, 1006 (4th Cir. 1980).
           14             Indeed, so applied, AB 5 would eliminate the very essence of Plaintiffs’
           15      contractual bargain. See Horwitz-Matthews, Inc. v. City of Chicago, 78 F.3d 1248, 1250
           16      (7th Cir. 1996) (“It is easy to see what th[e Contracts Clause] means when the state
           17      passes a law rendering a class of existing (as distinct from future, not-yet-entered-into)
           18      contracts legally unenforceable, thus wiping out contractual obligations.”). Individual
           19      and Company Plaintiffs have built thriving businesses around contracts that connect
           20      thousands of continuously revolving independent service providers to the on-demand
           21      requests of consumers.     This contractual feature is definitional to the on-demand
           22      economy. If AB 5 were enforced as its sponsors intend, it would eliminate the flexibility
           23      that Individual Plaintiffs value to earn extra income on a schedule they set and would
           24      require those with full-time jobs to forfeit existing on-demand contracts entirely—an
           25      unquestionably “substantial impairment” to these existing contracts. See Garris, 630
           26      F.2d at 1011(law modifying company’s unequivocal right to terminate relationship with
           27      its agent within 60 days violated the Contracts Clause); Ass’n of Surrogates & Supreme
           28      Court Reporters Within City of New York v. State of N.Y., 940 F.2d 766, 772 (2d Cir.

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               1   1991) (wage lag law substantially impaired contracts where it had “effect of withholding
               2   ten percent of each employee’s expected wages over a period of twenty weeks”);
               3   Spannus, 438 U.S. at 240, 250–51 (invalidating state law altering when employee
               4   benefits vested because law “substantially altered” company’s “contractual relationships
               5   with its employees . . . by superimposing pension obligations upon the company
               6   conspicuously beyond those that it had voluntarily agreed to undertake”).
               7          Plaintiffs had no reasonable expectation that their contracts were vulnerable,
               8   given that California courts and federal agencies have upheld these contracts. See, e.g.,
               9   Lawson v. Grubhub Inc., 302 F. Supp. 3d 1071, 1093 (N.D. Cal. 2018) (holding driver
           10      who used Grubhub was “independent contractor” under Borello); FLSA2019-6, Op.
           11      Letter from Keith E. Sonderling, Acting Administrator, Wage and Hour Division, U.S.
           12      Dep’t of Labor (“U.S. Dep’t of Labor Letter”) (Apr. 29, 2019) at 7,
           13      https://www.dol.gov/whd/opinion/FLSA/2019/2019_04_29_06_FLSA.pdf                  (finding
           14      independent service providers are not “employees” under federal law).
           15               2. “Reasonable” and “Appropriate” Tailoring.
           16             In determining whether “the state law is drawn in an appropriate and reasonable
           17      way to advance a significant and legitimate public purpose” (Sveen, 138 S. Ct. at 1822
           18      (internal quotation marks omitted)), the “State bears the burden of proof in showing a
           19      significant and legitimate public purpose underlying the Act” (Equip. Mfrs. Inst. v.
           20      Janklow, 300 F.3d 842, 859 (8th Cir. 2002)). Enforcing AB 5 to entirely nullify a private
           21      contract would receive heightened scrutiny under the Contracts Clause because “[t]he
           22      more severe the impairment, the more searching the examination . . . must be.”
           23      Campanelli v. Allstate Life Ins. Co., 322 F.3d 1086, 1098 (9th Cir. 2003); see also In re
           24      Workers’ Comp. Refund, 46 F.3d 813, 819 (8th Cir. 1995) (“Although a contract does
           25      not have to be completely nullified to be substantially impaired, heightened impairment
           26      triggers heightened scrutiny.”).    Indeed, even “significant and legitimate public
           27      purposes” cannot justify impairment of contracts without “moderation or reason” or if it
           28      is done “in the spirit of oppression.” Workers’ Comp., 46 F.3d at 821.

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               1          As discussed above, AB 5 targets network companies while protecting special
               2   interests. The law’s narrow focus on network companies shows that it was not “enacted
               3   to protect a broad societal interest.” Spannaus, 438 U.S. at 248–49; accord Workers’
               4   Comp., 46 F.3d at 821 (“Despite its sweeping language about benefitting the broad
               5   societal interest or class, the statute’s retroactive implementation benefits only a selected
               6   few.”). Quite the opposite, AB 5’s ostensible legislative purpose of helping workers is
               7   “suspect” because the legislature excluded similarly situated non-app-based workers.
               8   II.    Forced Reclassification Would Irreparably Injure Plaintiffs
               9          A preliminary injunction is necessary to prevent imminent and irreparable harms
           10      to Plaintiffs from enforcement of AB 5 in the way its sponsors intend (see Compl. ¶¶ 63–
           11      68) and as executive officials have threatened (id. ¶¶ 18, 52).
           12             As an initial matter, Plaintiffs face the infringement of their constitutional rights,
           13      and the Ninth Circuit Court has held that even “an alleged constitutional infringement
           14      will often alone constitute irreparable harm.” Monterey Mech. Co. v. Wilson, 125 F.3d
           15      702, 715 (9th Cir. 1997) (emphasis added); see also Morales v. Trans World Airlines,
           16      Inc., 504 U.S. 374, 381 (1992) (recognizing as irreparable harm the dilemma of either
           17      “continually violat[ing] [state] law and expos[ing] [oneself] to potentially huge liability;
           18      or . . . suffer[ing] the injury of obeying the law during the pendency of the proceedings
           19      and any further review”). Even more concretely, AB 5 threatens to upend Ms. Olson
           20      and Mr. Perez’s lives by depriving them of their livelihood, as well as the freedom,
           21      stability, and work satisfaction that they now enjoy. And if enforced the way AB 5’s
           22      sponsors intend, and as executive officials have threatened, Company Plaintiffs would
           23      suffer immeasurable harm from having to dramatically restructure their businesses.7
           24      7
                     Plaintiffs sought injunctive relief in this pre-enforcement action as soon as legally
           25
                   possible—namely, once their irreparable injury ripened to imminence with
                   Assemblywoman Gonzalez’s incitement of an enforcement action against them in her
           26      recent tweets on November 21 and December 25, 2019. Plaintiffs thus have not delayed
                   seeking relief here. See, e.g., Arc of California v. Douglas, 757 F.3d 975, 991 (9th Cir.
           27      2014) (“waiting to file for preliminary relief until a credible case for irreparable harm
                   can be made is prudent rather than dilatory”); see also Garcia v. Google, Inc., 766 F.3d
           28

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               1            1. Irreparable Injury To The Individual Plaintiffs.
               2          Like hundreds of thousands of California citizens, Ms. Olson and Mr. Perez
               3   intentionally choose app-based on-demand work specifically because it gives them
               4   unprecedented independence and flexibility to work in accordance with their personal
               5   circumstances and preferences; and those advantages have become central to their
               6   independent businesses and lives. Whether it means avoiding the dangers of the
               7   graveyard shift, supplementing income from another small business, making it to little
               8   league games, or caring for a spouse, Ms. Olson and Mr. Perez rely heavily on the
               9   autonomy associated with being their own bosses and working when, where, and how
           10      they choose. If enforced as its sponsors intend, AB 5 could destroy the businesses and
           11      livelihoods they worked hard to build. The irreparable harm they could suffer as a result
           12      begins with substantial, unrecoverable economic losses but extends much farther. After
           13      years of enjoying the independence and flexibility central to their lives, their lives have
           14      been thrown into uncertainty.        And they could be forced to seek traditional
           15      employment—an inflexible form of work incompatible with their personal
           16      circumstances and their families’ needs.
           17             Mr. Perez quit driving a truck on the graveyard shift to launch his own local
           18      delivery business. Perez Decl. ¶¶ 3–5. He uses the Postmates App, among others, to
           19      connect with consumers and local merchants seeking delivery services. Id. He has built
           20      his own business by cultivating relationships with local merchants from which he
           21      regularly delivers and developing innovative strategies to deal with unique delivery
           22      opportunities and challenges in his community. Id. ¶ 7. Using these skills, Mr. Perez
           23      has doubled his income without having to answer to supervisors, adhere to rigid work
           24      schedules, or work long hours on the graveyard shift. Id. ¶¶ 6–7.
           25      929, 938 (9th Cir. 2014), on reh’g en banc, 786 F.3d 733 (9th Cir. 2015) (finding
           26
                   plaintiff was not dilatory where she “took legal action as soon as . . . she began receiving
                   death threats—in other words, as soon as there was a need for speedy action”); Stoker
           27      Declaration, ¶¶ 2–3. Moreover, any putative delay in seeking preliminary relief at most
                   “is but a single factor to consider in evaluating injury” and “courts are loath to withhold
           28      relief solely on that ground.” Arc of California, 757 F.3d at 991.

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               1          Mr. Perez’s success has allowed his family to get out of debt and save up to buy
               2   their own home; his wife was able to leave her job in order to spend more time with their
               3   children, including their young daughter who suffers from separation anxiety. Id. ¶ 8.
               4   Moreover, because he is his own boss, he now has the autonomy to take long weekends,
               5   lead family trips, or attend family events like his son’s baseball games. Id. ¶¶ 8, 18.
               6          Forced reclassification as a result of AB 5 would eliminate this essential income
               7   stream and effect a “major, negative, and permanent disruption” in Mr. Perez’s life. Id.
               8   ¶ 20. Mr. Perez fears that AB 5 will require him to give up his delivery business, forfeit
               9   his sole source of income, and return to more dangerous and less lucrative shift work.
           10      Id. ¶¶ 19–20. He would suffer unrecoverable financial losses as a result of giving up his
           11      delivery business, even temporarily, and the loss of customer goodwill and Mr. Perez’s
           12      business constitutes irreparable harm. Am. Trucking Ass’ns, Inc. v. City of Los Angeles,
           13      559 F.3d 1046, 1058 (9th Cir. 2009); Nelson v. NASA, 530 F.3d 865, 882 (9th Cir. 2008)
           14      (“the loss of one’s [business] does not carry merely monetary consequences; it carries
           15      emotional damages and stress, which cannot be compensated by mere back payment of
           16      [losses]”); Ajilon Prof’l Staffing, LLC v. Griffin, 2009 WL 976522, at *3 (D. Ariz. Apr.
           17      10, 2009) (“It is well-settled that injury to or destruction of a business constitutes
           18      irreparable harm for which preliminary and permanent injunctive relief may be
           19      appropriate.”). Moreover, he would lose the autonomy and flexibility that led him to
           20      become an independent service provider in the first place. These harms cannot be cured
           21      retrospectively or with monetary relief, even if such relief were available. See Perez
           22      Dec. ¶ 20 (“No amount of money can give me my freedom and flexibility back”); Chalk
           23      v. U.S. Dist. Court Cent. Dist. of Cal., 840 F.2d 701, 709–10 (9th Cir. 1988) (loss of job
           24      satisfaction and its associated distress may constitute irreparable harm).
           25             Plaintiff Olson is an independent business owner who operates a consulting firm.
           26      Olson Dec. ¶ 2. Shortly after she launched her firm in 2011, her husband was diagnosed
           27      with multiple sclerosis. Id. ¶ 3. She often must take extended time off from work to
           28      care for him, sometimes for several weeks at a time. Id. She supplements the income

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               1   she makes from her consulting business by using the Uber and Lyft apps to find leads
               2   for riders seeking transportation services. Id. ¶¶ 4–6.
               3          Ms. Olson’s transportation business allows her to stabilize her income and
               4   provides the flexibility to control her own schedule, while caring for him when needed
               5   even on short notice. Id. ¶¶ 3–5. Ms. Olson could not work for Uber and Lyft if she
               6   were classified as their employee, because she cannot give up this flexibility. Id. ¶ 10.
               7   Ms. Olson has “grave concerns” about AB 5, because it threatens her source of
               8   “guaranteed income” that she and her husband rely on. Id. ¶ 4, 11–12. She would lose
               9   a stable source of income as well as the necessary balance of work and life
           10      responsibilities predicated on the unique opportunities available only through on-
           11      demand work. Id. ¶¶ 10–12. These harms extend far beyond monetary losses, and are
           12      irreparable, warranting an injunction.
           13               2. Irreparable Injury To The Company Plaintiffs.
           14             Although Plaintiffs’ maintain that properly interpreted and applied, AB 5 does not
           15      require Company Plaintiffs to reclassify independent service providers whom they
           16      contract with as employees, the stated intent of AB 5’s principal sponsors and state
           17      officials’ threatened enforcement of AB 5 puts Company Plaintiffs in a no-win position
           18      that constitutes irreparable harm. On the one hand, they can attempt to reclassify certain
           19      service providers, thus relinquishing the contracts at the heart of their business models
           20      and incurring substantial, irrecoverable economic harms associated with restructuring
           21      their businesses (if that were even possible). On the other, they can choose to continue
           22      under their current models and face the imminent threat of prosecution and potential
           23      criminal liability. In either case, the impossible dilemma they face absent an injunction
           24      is irreparable harm in itself. See Morales, 504 U.S. at 381; accord American Trucking,
           25      559 F.3d at 1058 (“[a] constitutional violation alone, coupled with the damages incurred,
           26      can suffice to show irreparable harm,” because “‘constitutional violations cannot be
           27      adequately remedied through damages’”) (quoting Nelson, 530 F.3d at 882).
           28             Legislators and California officials have made clear that they intend AB 5 to be

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               1   enforced against network companies like Company Plaintiffs. Compl. ¶¶ 63–73; Stoker
               2   Decl. ¶¶ 2–3, Exs. A, B, C, D. Company Plaintiffs thus face the irrecoverable costs of
               3   defending numerous prosecutions, not to mention the potential for substantial civil and
               4   criminal penalties under the Labor Code and Unemployment Insurance Code if a court
               5   adopts the State’s erroneous and unconstitutional interpretation of AB 5. See Compl. ¶¶
               6   69–72. But if Company Plaintiffs were to treat independent service providers who use
               7   their apps as employees to avoid the threat of prosecution, the costs of reclassifying them
               8   as employees would be astronomical and unrecoverable in the event Plaintiffs ultimately
               9   prevail in this suit.
           10             Network companies are built to connect independent service providers with
           11      customers; network companies have never provided services themselves. See U.S. Dep’t
           12      of Labor Letter at 7 (observing that network companies “provide[]a referral service”).
           13             For example, more than 300,000 independent service providers in California use
           14      the Postmates app to find leads and deliver services to merchants and consumers in the
           15      state. Andres Decl. ¶ 6. Because it is not a delivery company, Postmates employs only
           16      approximately 1,200 individuals, all of whom are “dedicated to sales, engineering,
           17      analytics, strategy, design, support (of merchants, couriers, and other aspects of the
           18      platform), and other functions.” Id. ¶ 36. Postmates’ business is not staffed or structured
           19      to provide delivery services or to hire, schedule, and manage a large workforce of
           20      delivery employees or provide employee benefits to them. Id. But if forced to reclassify
           21      the independent service providers who use the app as employees, Postmates would face
           22      the prospect of spending significant sums to construct a management and human
           23      resources infrastructure to accommodate a large workforce. Id. ¶¶ 37–38.
           24             Plaintiff Uber’s business model is built around proprietary technology that creates
           25      networks allowing, for example, consumers seeking rides or food delivery to connect
           26      with independent service providers nearby. Rosenthal Decl. ¶¶ 7–8. Since October
           27      2018, “more than 395,000 independent drivers and delivery persons in California have
           28      used the Uber Apps to find and provide services to riders and consumers.” Id. ¶ 9.

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               1   Because Uber is a technology company and not a transportation or delivery company, it
               2   does not assign, supervise, or determine the routes of drivers or delivery persons. Id. ¶
               3   47. Nor does it have the workforce to do so: Uber has approximately 6,000 actual
               4   employees in California, most of whom are dedicated to technology product
               5   development. Id. ¶ 59. Thus, if forced to reclassify certain independent drivers and
               6   delivery persons who use the Uber Apps as Uber employees, Uber would have to incur
               7   the significant costs associated with, for example, reworking its pay structure; setting up
               8   processes and hiring staff to manage employee benefit and liabilities payments; and
               9   training and supervising drivers and delivery persons. Id. ¶ 64.
           10             Company Plaintiffs also stand to lose substantial revenues if their platforms are
           11      unable to respond to customer demand dynamically and in real time. See Andres Decl.
           12      ¶ 41 (explaining Postmates would lose revenue “during those times when its new shift
           13      ‘employees’ could not meet high demand” and “would be forced to incur the expenses
           14      of paying employees to wait during periods of low demand”); Rosenthal Decl. ¶ 62
           15      (explaining Uber “relies on independent service providers having the flexibility and
           16      autonomy to pick and choose when they want to login to the Uber App” and “not
           17      currently responsible for ensuring that there are enough drivers or delivery persons in a
           18      given location to satisfy demand.”).
           19             If Company Plaintiffs are forced to reclassify, the financial harm they would
           20      suffer as a result of Defendants’ unconstitutional actions could never be remedied. See
           21      Douglas v. Indep. Living Ctr. of S. California, Inc., 565 U.S. 606 (2012); Chamber of
           22      Commerce of U.S. v. Edmondson, 594 F.3d 742, 770–71 (10th Cir. 2010); see also Philip
           23      Morris USA Inc. v. Scott, 561 U.S. 1301, 1304 (2010) (Scalia, J., in chambers)
           24      (“Normally the mere payment of money is not considered irreparable . . . but that is
           25      because money can usually be recovered from the person to whom it is paid. If
           26      expenditures cannot be recouped, the resulting loss may be irreparable.” (citation
           27      omitted)). Any claims against the state for reimbursement of these costs would be barred
           28      by sovereign immunity. See, e.g., Cal. Pharmacists Ass’n v. Maxwell-Jolly, 563 F.3d

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               1   847, 852 (9th Cir. 2009), vacated on other grounds by Douglas v. Indep. Living Ctr. of
               2   S. Cal, Inc., 565 U.S. 606 (2012); Cal. Gov’t Code §§ 815(a), 820.6 (granting general
               3   sovereign immunity to “public entit[ies]” and public employees acting “under the
               4   apparent authority of an enactment that is unconstitutional, invalid or inapplicable”).
               5          In addition to these administrative costs, both Postmates and Uber could be forced
               6   to cancel or drastically modify their existing contracts with independent service
               7   providers, destroying the goodwill they have built with independent service providers
               8   over many years such that many independent service providers might never return to
               9   doing business with them. See id. ¶ 63; Andres Decl. ¶ 42. This damage to Company
           10      Plaintiffs’ goodwill and reputation is unquestionably irreparable injury because it is
           11      particularly difficult to monetize.     Rent–A–Center, Inc. v. Canyon Television &
           12      Appliance Rental, Inc., 944 F.2d 597, 603 (9th Cir. 1991).
           13             In addition to losing goodwill with independent service providers, Company
           14      Plaintiffs stand to lose considerable goodwill in the eyes of the public as a result of AB
           15      5’s threatened enforcement against them.          AB 5’s drafters have derided network
           16      companies including Company Plaintiffs and accused them of openly and willfully
           17      violating labor laws, of “theft”, of “unscrupulous” conduct, and of “trying to screw
           18      workers,” to name a few. Compl. ¶¶ 64, 65, 108. Public discourse of this kind creates
           19      an aura around network companies including Company Plaintiffs that—although
           20      patently incorrect—is damaging and difficult to refute. See Rosenthal Decl. ¶ 61; see
           21      also Brendan Nyhan & Jason Reifler, When Corrections Fail: The Persistence of
           22      Political Misperceptions, 32 Pol’y Behav. 303 (2010).             And the goodwill and
           23      reputational harm would necessarily be irreparable. See American Trucking, 559 F.3d
           24      at 1058–59; Rent–A–Center, Inc., 944 F.2d at 603. A preliminary injunction is thus
           25      warranted to preserve the status quo while Plaintiffs’ claims are litigated.
           26      III.   The Balance Of Harms Favors A Preliminary Injunction
           27             The irreparable injury Plaintiffs will suffer absent preliminary injunctive relief is
           28      alone enough to tilt the balance of equities sharply in favor of an injunction, because

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               1   “the balance of the equities favor preventing the violation of a party’s constitutional
               2   rights.” Arizona Dream Act Coal. v. Brewer, 855 F.3d 957, 978 (9th Cir. 2017).
               3   Moreover, Defendants will not be harmed in any way by a preliminary injunction—
               4   which would merely preserve the status quo—to allow for orderly litigation of this case.
               5   See Cal. Trucking Ass’n v. Becerra, No. 3:18-cv-02458-BEN-BLM, ECF No. 77, at 4
               6   (S.D. Cal. Dec. 31, 2019) (concluding that the public interest “and equities weigh in
               7   favor” of a TRO enjoining enforcement of AB 5, because the law “provides an
               8   alternative should the ABC test be struck down.”). In addition, Defendants have “no
               9   legitimate interest in enforcing an unconstitutional [statute].” KH Outdoor, LLC v. City
           10      of Trussville, 458 F.3d 1261, 1272 (11th Cir. 2006).
           11      IV.    The Public Interest Sharply Favors A Preliminary Injunction
           12             “[I]t is always in the public interest to prevent the violation of a party’s
           13      constitutional rights.” Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012).
           14      Enforcement of AB 5 as its sponsors intend—forcing network companies to reclassify
           15      certain on-demand workers—would cause an astronomical upheaval in the on-demand
           16      economy, and in the economy writ large, harming not only independent service
           17      providers and network companies, but consumers, merchants, and the public at large.
           18             Forced reclassification would deprive thousands of members of the public of their
           19      ability to work in the on-demand economy and generate independent income. Andres
           20      Decl. ¶¶ 33–34, 42, 45; Rosenthal Decl. ¶¶ 66–68; McCrary Decl. ¶¶18, 51–58. The on-
           21      demand economy benefits everyone by empowering workers to quickly on-board to
           22      provide services when they desire, and also to exit when convenient. McCrary Decl. ¶¶
           23      15, 25–26. Many individuals rely on this easy entry to meet a sudden financial crisis.
           24      Id. ¶ 33. And most workers highly value this flexibility and the convenience that it
           25      entails, and do not work a rigid 40-hour week. Id. ¶¶ 156, 24–26, 56.8
           26
                   8
                     See also James Sherk, The Rise of the Gig Economy: Good for Workers and
           27      Consumers, Heritage Found. (Oct. 7, 2016), https://www.heritage.org/jobs-and-
                   labor/report/the-rise-the-gig-economy-good-workers-and-consumers (freedom to set
           28

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               1          If network companies were forced to reclassify independent service providers
               2   who use their apps as employees, even the lucky few who would still be able to secure
               3   income from the on-demand sector would suffer decreased job satisfaction—and many
               4   more would lose their ability to earn this income entirely due to competing commitments
               5   or decreased opportunities. Id. For many, it would force them out of business entirely.
               6   Andres Decl. ¶¶ 33–34; Rosenthal Decl. ¶¶ 66–68; McCrary Decl. ¶¶ 18, 51–58; Joshua
               7   Frulinger, The gig economy is crashing: Freelance jobs at UpWork sunk 31% in past
               8   month, Thinknum Alternative Data (reporting new data showing that in the month after
               9   AB 5’s passage, the number of available jobs in the on-demand economy “plummeted”),
           10      https://media.thinknum.com/articles/gig-economy-broken/ (last visited Jan. 2, 2020).9
           11             Forced reclassification would also result in a decrease in income for on-demand
           12      workers, and less competition for the market as a whole, thereby harming consumers
           13      and increasing prices for many services. The dynamic model of the on-demand economy
           14      increases service providers’ surplus over twice what most would earn in a traditional
           15      full-time or even part-time model. McCrary Decl. ¶ 25. Low-income individuals in
           16      particular capture benefits from being able to work flexibly in the on-demand economy
           17      across multi-apps, seamlessly sorting through all available market opportunities to fetch
           18      the best price for their services. Id. ¶¶ 27–29. As Dr. McCrary explains, upsetting this
           19      model would cause numerous harms to network companies and the consumers and
           20      workers who use their apps. Id. ¶¶ 30–58.
           21             The public goods that would be lost from enforcement of AB 5 as its sponsors
           22

           23
                   their own schedules a “major” reason workers entered this segment of the economy—
           24      for example, 95 percent of drivers who use the Lyft app, “identif[y] the ability to work
                   flexible hours as an ‘extremely important’ ... [or] ‘very important’” “consideration in
           25      using the service”); Beacon Economics LLC, How Many Drivers Would Lyft Recruit
           26
                   Under a Traditional Work Arrangement? at 2, Aug. 2019, https://images.kusi.com/wp-
                   content/uploads/2019/09/Beacon-Economics-August-2019.pdf.
                   9
           27         See also Beacon Economics at 1 (finding reclassification would force an estimated
                   300,673 drivers who currently contract with Lyft to close shop).
           28

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               1   intend are innumerable. Id. ¶ 34.10 Reclassification would impose 20 to 40 percent more
               2   in total labor costs on many networks companies, which could be passed on to the public
               3   or offset through automated technology or other less labor-intensive capital, leading to
               4   fewer income-earning opportunities for workers. Id. ¶¶ 17–19, 40–58. Fewer products
               5   and services would be sold and overall consumer welfare would diminish. Id. ¶ 47. And
               6   the reduced consumer activity will harm merchants who rely on on-demand activity to
               7   reach consumers. Id. ¶ 46.
               8          There is no question that these harms should be avoided while the constitutionality
               9   of AB 5 is litigated.
           10                                          CONCLUSION
           11             Plaintiffs respectfully request that this Court preliminarily enjoin Defendants
           12      from enforcing or causing to be enforced AB 5 against them, pending final judgment.
           13      January 8, 2020                                  By: /s/ Theane Evangelis
           14                                                             Theane Evangelis
           15
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           27         See also Sherk, supra n. 8 (when Uber “enter[s] a geographic area in California,”
                   there is a “3.6% – 5.6% decrease in the rate” of alcohol-related motor vehicle
           28      homicides); Beacon Economics at 2.

Gibson, Dunn &
                   Memorandum in Support of                    25                            Case No. 2:19-cv-10956
                   Plaintiffs’ Motion for
Crutcher LLP
                   Preliminary Injunction
